Case 1:20-cr-00165-CMA Document 52 Filed 11/26/21 USDC Colorado Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 20-cr-00165-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     GREGORY LOPEZ,

       Defendant.


         UNITED STATES’ RESPONSE TO DEFENDANT’S RESPONSES TO
                   PRESENTENCE INVESTIGATION REPORT


       The United States of America (“the government”), by and through Acting United

States Attorney Matthew T. Kirsch and Assistant United States Attorney Alecia L.

Riewerts, respectfully submits this response to defendant Gregory Lopez’s Responses

to Presentence Investigation Report [ECF #44]. This response addresses the

clarifications in the order contained in the defendant’s pleading.

       Paragraph 4: The government does not object to the inclusion of this

information in the Presentence Investigation Report.

       Paragraph 32: The government does not object to the inclusion of this

information in the Presentence Investigation Report.

       Paragraph 91: The government does not object to the inclusion of this

information in the Presentence Investigation Report.



                                             1
Case 1:20-cr-00165-CMA Document 52 Filed 11/26/21 USDC Colorado Page 2 of 3




                                  Respectfully submitted,

                                  MATTHEW T. KIRSCH
                                  Acting United States Attorney

                            By:   s/ Alecia L. Riewerts
                                  ALECIA L. RIEWERTS
                                  Assistant United States Attorney
                                  United States Attorney’s Office
                                  1801 California St., Suite 1600
                                  Denver, Colorado 80202
                                  Telephone: (303) 454-0100
                                  Email: Alecia.Riewerts@usdoj.gov
                                  Attorney for Government




                                     2
Case 1:20-cr-00165-CMA Document 52 Filed 11/26/21 USDC Colorado Page 3 of 3




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of November, 2021, I electronically filed the
foregoing UNITED STATES’ RESPONSE TO DEFENDANT’S RESPONSES TO THE
PRESENTENCE INVESTIGATION REPORT with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following email address:

       Defense Attorney:
       David Kraut

       Email Address:
       David_Kraut@fd.org


                                          By:    s/ Alecia L. Riewerts
                                          ALECIA L. RIEWERTS
                                          Assistant United States Attorney
                                          United States Attorney’s Office
                                          1801 California St., Suite 1600
                                          Denver, Colorado 80202
                                          Telephone: (303) 454-0100
                                          Email: Alecia.Riewerts@usdoj.gov
                                          Attorney for Government




                                             3
